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7
8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )    CR. S-08-570-GEB
12             Plaintiff,             )
                                      )   STIPULATION AND [PROPOSED] ORDER
13                                    )   CONTINUING STATUS CONFERENCE AND
          v.                          )   EXCLUDING TIME
14                                    )
     MANUEL AGUILAR-GODINEZ, and      )
15   JUAN GABRIEL ALVAREZ,            )
                                      )
16             Defendants.            )    Hon. Garland E. Burrell
                                      )
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18
          The parties request that the status conference currently set
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     for May 15, 2009, be continued to June 5, 2009, and stipulate
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     that the time beginning May 15, 2009, and extending through June
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     5, 2009, should be excluded from the calculation of time under
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     the Speedy Trial Act.    The parties submit that the ends of
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     justice are served by the Court excluding such time, so that
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     counsel for each defendant may have reasonable time necessary for
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     effective preparation, taking into account the exercise of due
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     diligence.    18 U.S.C. § 3161(h)(8)(B)(iv); Local Code T4.
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          The parties are in the process of discussing and negotiating
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1    the various plea offers in this case.       Each defendant will need
2    time to consider his or her offer in light of the discovery.          As
3    such, the attorneys for each defendant need more time to review
4    the discovery in this case, discuss that discovery with their
5    respective clients, consider new evidence that may affect the
6    disposition of this case, conduct necessary legal research and
7    investigation, and then discuss with their clients how to
8    proceed.   The parties stipulate and agree that the interests of
9    justice served by granting this continuance outweigh the best
10   interests of the public and the defendants in a speedy trial.          18
11   U.S.C. § 3161(h)(8)(A).
12                                          Respectfully Submitted,
13                                          LAWRENCE G. BROWN
                                            Acting United States Attorney
14
15   Dated: May 8, 2009                 By:/s/ Michael M. Beckwith
                                           MICHAEL M. BECKWITH
16                                         Assistant U.S. Attorney
17
     Dated: May 8, 2009                 By:/s/ Jamil Francisco Karwash
18                                         JAMIL FRANCISCO KARWASH
                                           Attorney for defendant
19                                         Manuel Aguilar-Godinez
20
     Dated: May 8, 2009                 By:/s/ Michael A. Brush
21                                         MICHAEL A. BRUSH
                                           Attorney for defendant
22                                         Juan Gabriel Alvarez
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1                                        ORDER
2                 For the reasons stated above, the status conference in
3    case number CR. S 08-570-GEB, currently set for May 15, 2009, is
4    continued to June 5, 2009; and the time beginning May 15, 2009,
5    and extending through June 5, 2009, is excluded from the
6    calculation of time under the Speedy Trial Act for effective
7    defense preparation.       The Court finds that interests of justice
8    served by granting this continuance outweigh the best interests
9    of the public and the defendants in a speedy trial.            18 U.S.C. §
10   3161(h)(8)(A) and (B)(iv).
11               IT IS SO ORDERED.
12   Dated:    June 1, 2009

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14                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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